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UNITED STATES DISTRJCT COURT
SOUTHERN DISTRJCT OF NEW YORK
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Jose Huerta,

                                    Plaintiff,                                 23 CV 05382 (KMK)
     -against-

J.D. Workforce, Inc. et al.,

                                    Defendant(s).
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                                        Order Declaring Case For Mediation
Karas, Kenneth M.
To the Clerk of Court:

1.       This case is determined to be eligible for mediation as to all issues.

2.       The entire mediation process is confidential. The parties and the Mediator may not disclose
         information regarding the process, including settlement terms, to the Court or to third persons
         unless all parties agree. The identity of the Mediator is not to be disclosed even to the Court.
         However, persons authorized by the Court to administer or evaluate the mediation program may
         have access to information necessary to administer or evaluate the program and parties, and
         counsel and mediators may respond to confidential inquiries or surveys by said persons
         authorized by the Court to administer or evaluate the mediation program.

3.       The mediation process shall be treated as a compromise negotiation for purposes of the Federal
         Rules of Evidence and state rules of evidence. The Mediator is disqualified as a witness,
         consultant, attorney, or expert in any pending or future action relating to the dispute, including
         actions between persons not parties to the mediation process.

4.       Entry of this case into the Court's mediation program shall not be deemed to change any
         timetable set by the Court contained in a scheduling order or otherwise governing the
         completion of discovery, motion practice or trial date.

5.       With respect to the assigned mediator, the parties respectfully request that a mediator be
         assigned who has specific expertise in Fair Labor Standards ct and New York Labor Law
         wage and hours matters.

                                                                SOO


                                                                Kenneth M, Karas
                                                                United States District Judge
Dated: May 7, 2025
       White Plains, New York
